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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

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LEE VARDAKAS,                                :
                                             :
                           Plaintiff,        :
                                             :
               -against-                     :                  Case No. 17-CV-10247 (LTS)
                                             :
AMERICAN DG ENERGY, INC., et al.,            :
                                             :
                           Defendants.       :
–––––––––––––––––––––––––––––––––––––––––––– X


                                  NOTICE OF APPEARANCE

        Please enter my appearance on behalf of Defendants American DG Energy, Inc., John

Hatsopoulos, George Hatsopoulos, Benjamin Locke, Charles Maxwell, Deanne Petersen,

Christine Klaskin, John Rowe, Joan Giacinti, and Elias Samaras.

May 4, 2017                                    Respectfully submitted,

                                               /s/ Paul E. Summit
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                                 CERTIFICATE OF SERVICE

        I, Paul E. Summit, hereby certify that this document(s) filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non registered participants on May 4,
2017.

                                               /s/ Paul E. Summit
                                               Paul E. Summit



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